


  —Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Queens County (Kron, J.), imposed March 30, 2016, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The defendant’s purported waiver of the right to appeal was invalid (see People v Bradshaw, 18 NY3d 257, 264 [2011]; People v Santeramo, 153 AD3d 1286, 1286-1287 [2017]) and, thus, does not preclude review of his excessive sentence claim. However, contrary to the defendant’s contention, the sentence imposed was not excessive (see People v Suitte, 90 AD2d 80 [1982]).
 

  Eng, P.J., Balkin, Hall, Duffy and Brathwaite Nelson, JJ., concur.
 
